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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


JENNIFER VANDERSTOK, et al.,

       Plaintiffs,                           Case No. 4:22-cv-00691-O

  v.

MERRICK GARLAND, in his official
capacity as Attorney General of the United
States, et al.,

       Defendants.


                DEFENDANTS’ SUPPLEMENTAL BRIEF REGARDING
              RULE 65(A)(2) CONSOLIDATION AND PLAINTIFFS’ COUNT I
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                                        INTRODUCTION

       This Court has notified the parties that it intends to consolidate its ultimate decision on the

merits of Plaintiffs’ Count I claim with the Court’s September 2, 2022 decision granting Plaintiffs’

motion for a preliminary injunction. Defendants respectfully submit that consolidation would be

inappropriate procedurally for several reasons. First, Rule 65(a)(2) only contemplates consolidation,

and simultaneous resolution, of a pending preliminary injunction motion and final trial on the merits;

it does not contemplate a retroactive consolidation after a preliminary injunction has been issued.

Consolidation would be particularly inappropriate here because Defendants have now produced an

administrative record containing information relevant to Plaintiffs’ Count I claim that was not before

the Court when it considered Plaintiffs’ motion for preliminary injunction. This Court should consider

that claim anew in light of the information now available to it and the parties’ briefing on summary

judgment. Consolidation would also ignore the very different legal standards and burdens that apply

to preliminary injunctions and final merits determinations. Accordingly, Rule 56, not Rule 65(a)(2), is

the appropriate standard and procedural mechanism for resolving Plaintiffs’ Count I claim.

       Most fundamentally, consolidating the ultimate merits decision to enter judgment for Plaintiffs

on Count I would be inappropriate because Plaintiffs have failed to show that they are entitled to such

judgment on the merits. The Final Rule’s amended definitions of “frame or receiver” and “firearm”

are both reasonable interpretations of statutory terms because they are consistent with the plain

language and intent of the Gun Control Act and existing practice and caselaw. However, in the event

this Court were to convert its September 2 preliminary injunction decision into a final judgment on

the merits through a Rule 65(a)(2) consolidation, any remedy ordered by the Court should be narrowly

tailored to address the harms the Court has held Plaintiffs have demonstrated.

                                         BACKGROUND

       Plaintiffs filed their Complaint on August 11, 2022. Count I of Plaintiffs’ Complaint alleges
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that ATF violated the Administrative Procedure Act (“APA”), 5 U.S.C. § 706, because, in amending

the definitions of certain terms, ATF acted in excess of the authority granted to it by federal firearms

statutes. Compl. ¶¶ 96-102. On August 17, 2022, Plaintiffs filed a motion for a preliminary injunction.

ECF No. 15. On August 29, 2022, the date Defendants’ response to Plaintiffs’ motion for preliminary

injunction was due, this Court issued an order directing the parties to brief the issue of whether “the

Court should advance the preliminary injunction motion to a determination on the merits” pursuant

to Federal Rule 65. ECF No. 33.

        Both parties submitted briefing on the issue on August 31, 2022, and both parties took the

position that this Court should not consolidate the hearing on the Plaintiffs’ motion for preliminary

injunction with a trial on the merits of Plaintiffs’ claims pursuant to Federal Rule 65(a)(2). ECF Nos.

53 & 54. In opposing consolidation, Plaintiffs noted that “[i]n the APA context, because the district

court acts as an appellate tribunal and the evidence is almost exclusively limited to the administrative

record, claims are normally resolved on summary judgment.” ECF No. 54 at 1 n.1 (citations omitted).

Plaintiffs argued that the Court should not consolidate the preliminary injunction and ultimate merits

determination, and should instead grant Plaintiffs’ motion for a preliminary injunction and resolve the

merits after the filing of the administrative record and summary judgment briefing. Id. at 7.

        On September 2, 2022, this Court entered an order granting Plaintiffs’ motion for a

preliminary injunction. ECF No. 56. In doing so, this Court first examined whether Plaintiffs had

shown a likelihood of success on the merits which, according to the Court, did not require the plaintiff

to show “that [it] is entitled to summary judgment.” Id. at 6 (quoting Daniels Health Servs., L.L.C. v.

Vascular Health Scis., L.L.C., 710 F.3d 579, 582 (5th Cir. 2013)). The Court held that, under the relevant

standard, Plaintiffs had shown that they were likely to succeed on the merits of their Count I claim,

and noted that the Court was not reaching the issue of whether Plaintiffs had shown a likelihood of

success on the merits of any of their other claims. Id. at 15. The Court held that one plaintiff, Tactical

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Machining, had also satisfied the other required factors of irreparable harm, id. at 16-20, and that the

public interest favored the entry of an injunction, id. at 21-22, and therefore entered a preliminary

injunction against ATF implementing or enforcing, against Tactical Machining, the Final Rule’s

amended definitions at issue, id. at 23. On October 1, 2022, the Court expanded the scope of its

injunction to include Tactical Machining’s customers. ECF No. 89. On October 3, 2022, this Court

entered a sua sponte order clarifying that the injunction does not provide relief to anyone prohibited

from receiving or possessing a firearm pursuant to 18 U.S.C. § 922(g), even if they are a Tactical

Machining customer, so that ATF may continue to apply the Final Rule’s amended definitions with

respect to anyone falling within the prohibitions of § 922(g). ECF No. 91.

       On September 23, 2022, the Court ordered Defendants to produce the administrative record

no later than October 24, 2022. ECF No. 82. On October 7, 2022, the Parties submitted a Joint

Report on scheduling, agreeing that “this case will likely be resolved through dispositive motions

without a trial,” and proposing a staggered summary judgment briefing schedule beginning with

Plaintiffs’ motion for summary judgment due 60 days from the later of the date the administrative

record is filed or the date any objections or motions regarding the sufficiency of the administrative

record are resolved. ECF No. 95 at 3. The Court adopted this briefing schedule in an order issued

October 24, 2022. ECF No. 105 at 2. Also on October 24, 2022, Defendants filed a notice of filing

of the administrative record and provided the administrative record to all relevant parties. ECF No.

106. On October 25, 2022, this Court issued an order notifying the parties that the Court intends “to

consolidate the hearing on preliminary injunction to a trial on the merits” only as to Count I of the

Plaintiffs’ (including the Intervenor-Plaintiffs) Complaints. ECF No. 107.




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                                             ARGUMENT

    I.       This Court Should Not “Consolidate” the Ultimate Determination on the Merits
             of Plaintiffs’ Count I with the Court’s Previously Issued Preliminary Injunction
             Decision.

         Rule 65(a)(2) provides that “[b]efore or after beginning the hearing on a motion for a preliminary

injunction, the court may advance the trial on the merits and consolidate it with the hearing.” (emphasis

added). This provision authorizes a consolidation decision only before or during the “hearing on a

motion for a preliminary injunction.” If the drafters of the Rule had intended this provision to provide

a procedural vehicle to consolidate the decisions, it surely could have said so, and the word “beginning”

would serve no purpose and would have been omitted. However, they did not do so, and there is no

mention in the rule of a decision to consolidate after a preliminary injunction decision has been made

(and when there is thus no pending preliminary injunction “hearing” to “consolidate” with a “trial on

the merits”). Cf. Duncan v. Walker, 533 U.S. 167, 174 (2001) (refusing to adopt interpretation of the

statute that would render a word “insignificant, if not wholly superfluous”) (citation omitted). Here,

because there is no “hearing on a motion for a preliminary injunction” scheduled or contemplated,

there is nothing for this Court to consolidate its decision on the merits of Plaintiffs’ Count I with

under the plain language of Rule 65(a)(2).

         Further, as the Supreme Court has noted, “it is generally inappropriate for a federal court at

the preliminary-injunction stage to give a final judgment on the merits [via Rule 65(a)(2)],” Univ. of

Texas v. Camenisch, 451 U.S. 390, 395 (1981), and a court should only do so in instances where an

“expedited decision on the merits [is] appropriate,” id. The Fifth Circuit has cautioned courts against

using Rule 65(a)(2) to issue final judgment on the merits in some circumstances, noting:

         The primary objection is that the court is rendering sua sponte summary judgment
         without providing notice or conducting a summary judgment hearing as required by
         Fed. R. Civ. P. 56. In addition, the issues which are considered in the preliminary
         injunction hearing are entirely different from the focus of a summary judgment
         adjudication. Thus, it is a “risky approach” to assume that the often incomplete
         evidence adduced at a preliminary injunction hearing is sufficient to determine whether
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          a claimant is entitled to judgment as a matter of law.

H & W Indus., Inc. v. Formosa Plastics Corp., USA, 860 F.2d 172, 177 (5th Cir. 1988) (vacating district

court’s decision on the merits because “[a]lthough the court employed the language of a summary

judgment determination, its decision does not comport with the court’s reasoning in [Standard Oil Co.

of Tx. v.] Lopeno Gas [Co., 240 F.2d 504 (5th Cir. 1957)] or with standard summary judgment

procedures”) (citation omitted); cf. Communications Maint., Inc. v. Motorola, Inc., 761 F.2d 1202, 1205 (7th

Cir. 1985) (noting that Rule 65(a)(2) consolidation is “a risky approach” because “the questions

focused on differ in deciding a motion for preliminary injunction and in deciding a motion for

summary judgment” given the different legal standards and burdens).

          Defendants are not aware of any instance in which a court has retroactively decided to

consolidate “the hearing on a motion for a preliminary injunction” with “the trial on the merits”

months after issuing a decision on the preliminary injunction. This Court’s decision on Plaintiffs’

motion for a preliminary injunction was issued on September 2, 2022, and all parties agreed at that

time that consolidation was inappropriate because summary judgment would call for a different legal

standard and would likely rely on evidence in the Administrative Record that was not available to the

Court at the time it decided the motion for preliminary injunction. Defendants have now filed the

Administrative Record, and the Parties have negotiated and proposed a schedule for Rule 56 summary

judgment briefing which the Court has adopted. No exigent circumstances here demand an urgent

resolution of Count I or any of Plaintiffs’ other causes of action; all plaintiffs (including Intervenor

Plaintiffs) who this Court has held will be subject to irreparable harm from the Final Rule are protected

by this Court’s preliminary injunction. Rule 56, not Rule 65(a)(2), is therefore the appropriate avenue

for resolution of Plaintiffs’ claims, including Count I.

    II.       Plaintiffs Are Not Entitled to Judgment on Count I Because ATF Acted Within the
              Authority Delegated to It by Statute.

          Furthermore, any “consolidation” that would convert this Court’s preliminary injunction
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decision – which awarded certain Plaintiffs limited relief because, the Court found, among other

things, they made a strong showing of likelihood of success on the merits of their Count I claim –

into a final judgment would be wrong on the merits. ATF acted well within its statutory authority in

promulgating the Final Rule.

          The Attorney General (AG) is responsible for enforcing the Gun Control Act (“GCA”) and

the National Firearms Act (“NFA”), and Congress and the AG have expressly delegated the

responsibility for administering and enforcing the GCA and NFA to the Director of ATF. 1 18 U.S.C.

§ 926(a) delegates to the AG the authority to prescribe “such rules and regulations as are necessary to

carry out the provisions” of the statute. “Because § 926 authorizes the [AG] to promulgate those

regulations which are ‘necessary,’ it almost inevitably confers some measure of discretion to determine

what regulations are in fact ‘necessary.’” Nat’l Rifle Ass’n v. Brady, 914 F.2d 475, 479 (4th Cir. 1990).

Pursuant to this authority, ATF has for years issued regulations that define statutory terms, including

“firearm” and “frame or receiver.” However, existing regulations are not inflexible rules designed to

last indefinitely; instead, agencies “are neither required nor supposed to regulate the present and future

within the inflexible limits of yesterday.” Am. Trucking Ass’n v. Atchison, Topeka, and Santa Fe Ry. Co.,

387 U.S. 397, 416 (1967). Although Plaintiffs argue that portions of the Final Rule’s amended

definitions of two terms – “frame or receiver” and “firearm” – do not comport with the language of

the statute, Plaintiffs have not demonstrated that they are entitled to judgment on this claim.

          A.      The Amended Definition of “Frame or Receiver”

          The GCA defines “firearm” as “(A) any weapon (including a starter gun) which will or is

designed to or may readily be converted to expel a projectile by the action of an explosive; (B) the frame

or receiver of any such weapon; (C) any firearm muffler or firearm silencer; or (D) any destructive device.”

18 U.S.C. § 921(a)(3) (emphasis added). “Frame or receiver” is not defined in the statute. Id. § 921.

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    See 18 U.S.C. § 926(a); 26 U.S.C. § 7801(a)(2); 28 U.S.C. § 599A(c)(1); 28 C.F.R. § 0.130(a)(1)-(2).
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ATF has therefore long provided regulations defining the statutory term “frame or receiver.” The

agency first defined the term “frame or receiver” in 1968 as “[t]hat part of a firearm which provides

housing for the hammer, bolt or breechblock, and firing mechanism, and which is usually threaded at

its forward position.” Final Rule, Commerce in Firearms and Ammunition, 33 Fed. Reg. at 18,555,

18,558 (Dec. 14, 1968), codified at 27 C.F.R. § 478.11.

        Under the previous definition, ATF regularly examined products that manufacturers and

sellers submitted for classification decisions that were not complete, functional frames or receivers to

determine if they were sufficiently advanced in the manufacturing process to be considered a “frame

or receiver” under the regulatory definition. The Administrative Record, which was not available to

the Court at the time of its preliminary injunction decision, contains a number of instances pre-dating

the amended definition of “frame or receiver” in the Final Rule in which ATF made a determination

as to when an incomplete or nonfunctional frame or receiver becomes a “frame or receiver.” See, e.g.,

ATF000010 (Classification Letter from Apr. 20, 1978 finding that product “has reached a stage of

manufacture such that it may be readily converted to functional condition. Therefore, it is a firearm and is

subject to all applicable controls under the provisions of the [GCA].”) (emphasis added); ATF000017

(Letter from Aug. 2, 1978, stating that “[i]t is [ATF’s] position that an unfinished firearm receiver which

may be readily converted to functional condition is a firearm as defined.”) (emphasis added); ATF000020

(Letter from Mar. 22, 1979 stating “[t]he frame or receiver of a firearm is considered to be subject to

the provisions of the [GCA] at such time that it has reached a stage in its manufacture where the frame

can be readily converted to fire.”); ATF000023 (Classification Letter from Jan. 31, 1980 stating that

“a ‘piece of metal’ is considered to be a firearm receiver and subject to the provisions of the [GCA] at

such time as it reaches a stage in manufacture where it can be readily converted to a functional condition.”)

(emphasis added); ATF000052-53 (Classification Letter from Dec. 27, 2002 determining that

unfinished AR-15 receivers were considered a “frame or receiver,” and thus a “firearm,” under the

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GCA because of the degree to which the components had been manufactured and machined);

ATF000062-63 (Classification Letter from Jan. 29, 2004 determining that unfinished AR-15 type

receivers were a “frame or receiver” under the regulatory definition because of “the stage of

manufacture” of the unfinished receivers); ATF000110 (Classification Letter from Nov. 19, 2007

determining that “your planned receiver will be sufficiently complete to be classified as the frame or

receiver of a firearm” based on the “machining/drilling operations [that] will have been performed on

the final product you wish to sell”); ATF000206-07 (Classification Letter from May 17, 2013

examining the machining that would and would not be performed on the unfinished receiver and

finding that “your submitted item will not be sufficiently complete to be classified as the frame or

receiver of a firearm and thus would not be a ‘firearm’ as defined in the GCA) (emphasis in original);

ATF000496-97 (Classification Letter from Feb. 23, 2015 finding that unfinished receiver submitted

“has reached a point in the manufacturing process to be classified as a ‘firearm’ as defined in 18 U.S.C.

§ 921(a)(3)” but instructing manufacturer that if the same product were sold but with the trigger cavity

unmachined/solid, ATF would not classify the product as a “frame or receiver”). Under the previous

definition, then, ATF regularly applied the definition of “frame or receiver” to some unfinished or

incomplete frames or receivers if they had reached a sufficiently advanced stage of the manufacturing

process that they could readily be converted to a functional state.

        In light of this historical practice, and to address court decisions interpreting ATF’s prior

definition of “frame or receiver” such that up to 90 percent of all firearms in the United States would

have no component qualifying as a “frame or receiver” under the GCA, 87 Fed. Reg. at 24,652, 24,655,

the Final Rule amended the definition of “frame or receiver.” Specifically, the Final Rule provided

that:

        (c) Partially complete, disassembled, or nonfunctional frame or receiver. The terms “frame” and
        “receiver” shall include a partially complete, disassembled, or nonfunctional frame or



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        receiver, including a frame or receiver parts kit, that is designed to or may readily 2 be
        completed, assembled, restored, or otherwise be converted to function as a frame or
        receiver, i.e., to house or provide a structure for the primary energized component of
        a handgun, breech blocking or sealing component of a projectile weapon other than a
        handgun, or internal sound reduction component of a firearm muffler or firearm
        silencer, as the case may be. The terms shall not include a forging, casting, printing,
        extrusion, unmachined body, or similar article that has not yet reached a stage of
        manufacture where it is clearly identifiable as an unfinished component part of a
        weapon (e.g., unformed block of metal, liquid polymer, or other raw material). When
        issuing a classification, the Director may consider any associated templates, jigs, molds,
        equipment, tools, instructions, guides, or marketing materials that are sold, distributed,
        or possessed with the item or kit, or otherwise made available by the seller or
        distributor of the item or kit to the purchaser or recipient of the item or kit.

87 Fed. Reg. at 24,739. The Final Rule then sets forth five non-exhaustive illustrative examples of

components that either would or would not be considered a “frame or receiver” under the Final Rule’s

amended definition. Id.

        Plaintiffs have not stated what they believe to be the “ordinary meaning” or plain meaning for

the terms frame or receiver. Rather, “frame or receiver” is a statutory term that Congress did not

define or provide any guidance as to its meaning, leaving the precise definition of that term to the

discretion and expertise of ATF. And ATF has enacted regulations defining the term “frame or

receiver” since shortly after the enactment of the GCA in 1968 that are consistent with common and

technical dictionary definitions. See 87 Fed. Reg. at 24,654 & n.7, 24,693, & n.118. Importantly for

this Court’s inquiry, even under the previous definition, an issue that ATF has regularly resolved in

issuing classification decisions was determining when in the manufacturing process an item becomes a

frame or receiver. In this Court’s decision granting Plaintiffs’ motion for preliminary injunction, the

Court noted that “[t]hat which may become a receiver is not itself a receiver.” ECF No. 56 at 8 (emphasis

in original). However, this Court also noted that “[a]n incomplete receiver may still be a receiver


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   The Rule separately defines “readily” to mean a process, action, or physical state that is fairly or
reasonably efficient, quick, and easy, but not necessarily the most efficient, speediest, or easiest
process, action, or physical statement. 87 Fed. Reg. 24,735. With respect to ATF’s classification of
firearms, relevant factors to making this determination include: (1) time, (2) ease, (3) expertise, (4)
equipment, (5) parts availability, (6) expense, (7) scope, and (8) feasibility. Id.
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within the meaning of the statute, depending on the degree of completeness.” Id. at 10.

        Resolving the tension between these two ideas – that “an incomplete receiver may still be a

receiver” but “that which may become a receiver” is not – is the crux of the challenged portion of the

Final Rule’s amended definition of “frame or receiver.” ATF is charged with determining when a

component changes from a “gun part” unregulated by the GCA into a “frame or receiver” that is

considered a “firearm” under 18 U.S.C. § 921, and the agency has done so for decades with little

controversy or determination that it acted in excess of its statutory delegation of authority. As this

Court specifically noted, the question of “how much machining is necessary to transform a component

into a frame or receiver . . . lies with ATF.” ECF No. 56 at 10; see also id. at 11 n.21 (stating that “some

degree of finality or functionality” is required for a nonfunctional receiver to be considered a “frame

or receiver” but that “[t]he determination of degree likely rests with ATF.”). The challenged portion

of the amended definition of the Final Rule only provides more specific guidance about the criteria

ATF uses in making that determination. The Final Rule does not provide that all unfinished frames

or receivers are considered “frame[s] or receiver[s]” for purposes of the GCA – the amended

definition specifically notes that the amended definition “shall not include a forging, casting, printing,

printing, extrusion, unmachined body, or similar article that has not yet reached a stage of manufacture

where it is clearly identifiable as an unfinished component part of a weapon.” 87 Fed. Reg. at 24,739.

Rather, the Final Rule only considers an unfinished receiver to a be a “frame or receiver” if it is both

clearly identifiable as a component part of a weapon (i.e., at least “partially complete”) and “is designed

to or may readily be completed, assembled, restored, or otherwise converted to function as a frame or

receiver.” Id.

        In its preliminary injunction opinion, this Court concluded that the Final Rule’s amended

definition of “frame or receiver” likely exceeded ATF’s statutory authority because it would “regulate

a component as a ‘frame or receiver’ even after ATF determines that the component in question is not

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a frame or receiver.” ECF No. 56 at 10 (emphasis in original). But the Final Rule’s amended definition

treats a component as a frame or receiver only when ATF has determined that the component is a

frame or receiver. Indeed, as the above-cited portions of the Administrative Record demonstrate,

ATF has for decades classified some incomplete or nonoperational frames or receivers as frames or

receivers under the GCA based upon whether they have reached a stage of manufacture such that

they can be readily converted to a functional condition.

        ATF’s use of the term “readily” in the Final Rule’s amended definition incorporates a term

and concept that Congress has used repeatedly in federal firearms laws, both in the GCA and

elsewhere. See, e.g., 26 U.S.C. § 5845(b) (defining “machinegun” as “any weapon which shoots, is

designed to shoot, or can readily be restored to shoot, automatically . . .”). This definition of “frame

or receiver” ensures that the GCA and NFA accomplish what Congress intended those statutes to do.

Under any other approach, persons could easily circumvent the requirements of the GCA and NFA

by producing or purchasing almost-complete frames or receivers that could easily be altered to

produce a functional frame or receiver. This would thwart Congress’s purpose in enacting the GCA

and NFA to “ensure[] that weapons [are] distributed through regular channels and in a traceable

manner,” thus making “possible the prevention of sales to undesirable customers and the detection

of the origin of particular firearms.” New York v. Burger, 482 U.S. 691, 713 (1987). As this Court

acknowledged in its preliminary injunction order, the statute does not limit “frame or receiver” to only

complete, functional receivers; “[a]n incomplete receiver may still be a receiver within the meaning of

the statute, depending on the degree of completeness.” ECF No. 56 at 10. By updating the definition

of “frame or receiver” to only consider as a “frame or receiver” those partially complete receivers

which have reached the stage of the manufacturing process at which they “may readily be completed,

assembled, restored, or otherwise converted” to a functional frame or receiver, ATF has taken a

sensible approach that is consistent with the language and purpose of the GCA. As another court

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held in rejecting an argument virtually identical to that raised by the Plaintiffs here, “adopting

Plaintiffs’ position would appear to contradict the plain language of the GCA, which clearly defined

‘firearms’ more broadly than a fully operational weapon.” Morehouse Enters. v. ATF, No. 3:22-CV-116,

2022 WL 3597299 at *6 (D.N.D. Aug. 23, 2022), appeal docketed No. 22-2812 (8th Cir.).

        Accordingly, the challenged portion of the amended definition of “frame or receiver”

reasonably determines when in a component’s manufacturing process it becomes a frame or receiver,

and that determination is consistent with the language and intent of the GCA as well as decades of

ATF practice. Plaintiffs therefore should not prevail on the merits of their Count I claim as to the

amended definition of “frame or receiver.”

        B.      The Amended Definition of “Firearm”

        The GCA defines “firearm” as “(A) any weapon (including a starter gun) which will or is

designed to or may readily be converted to expel a projectile by the action of an explosive; (B) the

frame or receiver of any such weapon; (C) any firearm muffler or firearm silencer; or (D) any

destructive device.” 18 U.S.C. § 921(a)(3). The plain language of subsection (A) makes clear that

“firearm” does not encompass only weapons that are complete or functional. Specifically, the

language “or is designed to or may readily be converted to [function as a weapon]” makes clear that

Congress intended the definition to include weapons in a variety of states of disassembly, disrepair, or

functionality. The definition’s express inclusion of a “starter gun” – a gun designed for use with

“blank ammunition,” but which may be converted to expel live ammunition – is further evidence of

Congressional intent to encompass more than only fully functional weapons within the definition. 3


3
   The legislative history confirms as much, demonstrating that Congress was particularly concerned
with the example of a “do-it-yourself gunsmith” who made bulk purchases of starter pistols. “[H]e
would then, at his residence, disassemble them, and using an electric hand drill mounted in a drill press
stand, bore out the plugged barrel and enlarge the cylinder chambers to accommodate .22-caliber
cartridges.” S. Rep. 88-1340, at 14 (Aug. 7, 1967). This concern would apply with equal if not greater
force to a disassembled, partially complete weapon that must have some minor additional machining
to expel a lethal projectile by the action of an explosive.
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See S. Rep. No. 88-1340, at 14 (1964).

        Consistent with the plain language of the statute, federal courts have long recognized that a

disassembled or nonfunctional weapon can constitute a “firearm” for purposes of the GCA.4

Furthermore, as the materials in the Administrative Record show, ATF interpreted the statutory

definition of “firearm” to encompass certain weapon parts kits even prior to the Final Rule’s amended

definition. See ATF000723-29 (Dec. 4, 2020 Chief Counsel Memorandum concluding that “buy build

shoot” kits sold are firearms under the GCA because they “are weapons which are designed to, or

may readily be converted to expel a projectile by the action of an explosive”); ATF000817 (Dec. 9,

2020 application for search warrant approved by federal judge describing “buy build shoot” kits as

firearms under § 921).

        When ATF issued the Final Rule, the amended definition of “firearm” included “a weapon

parts kit that is designed to or may readily be completed, assembled, restored, or otherwise converted

to expel a projectile by the action of an explosive.” 87 Fed. Reg. 24,735. This additional language in

the Final Rule’s amended definition does not alter the statutory language of § 921(a)(3)(A); rather, it

clarifies that a specific subset of products on the market falls within the statutory language of “any

weapon . . . which . . . is designed to or may readily be converted to expel a projectile by the action of

an explosive.” Id. at 24,662 n.44.

        This amended definition is consistent with the plain language of the statute. There can be

little doubt that at least some weapon parts kits are “designed to” fire a projectile, as these products

are marketed and sold to, and purchased by, customers for the sole purpose of assembling the kits

into functional weapons capable of firing a projectile. Moreover, many such parts kits “may readily



4
  See, e.g., United States v. Wick, 697 F. App’x 507, 508 (9th Cir. 2017); United States v. Stewart, 451 F.3d
1071, 1073 n.2 (9th Cir. 2006); United States v. Annis, 446 F.3d 852, 857 (8th Cir. 2006); United States v.
Ryles, 988 F.2d 13, 16 (5th Cir. 1993); United States v. Theodoropoulous, 866 F.2d 587, 595 n.3 (3d Cir.
1989).
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be completed [or] assembled . . . to expel a projectile” – they are marketed and sold on the basis of

the relative ease of assembling or completing the individual parts contained in the kit into a functional

weapon. But the Final Rule does not categorically provide that any collection of components sold

together, or any product billed as a parts kit, constitutes a “firearm” under the GCA. Rather, the Final

Rule is clear that in order to be “readily” convertible to expel a projectile, the conversion of a weapon

parts kit “must be fairly or reasonably efficient, quick, and easy” after examining the enumerated

factors in the regulatory definition of “readily.” 87 Fed. Reg. at 24,735.

        As this Court noted in its preliminary injunction order, § 921(a)(3)(A) “covers disassembled,

nonfunctional, and antique firearms because they are ‘designed’ to fire projectiles even if they are practically

unable to do so.” ECF No. 56 at 9 (emphasis added). Indeed, it is difficult to discern any principled

distinction between a “disassembled” or “nonfunctional” firearm that is designed to fire a projectile

even if it is “practically unable to do so” in its current form, and a weapon parts kit. A weapon parts

kit is nothing more than a disassembled, currently nonfunctional weapon incapable of firing a

projectile in its present form, but that is designed and intended to be assembled or completed to do

so. Under Plaintiffs’ reading, a disassembled or partially disassembled handgun that is missing one

minor component that may be readily procured elsewhere cannot be considered a “firearm” subject

to the licensure, background check, marking or record-keeping requirements that federal firearms laws

require. There is no indication that Congress intended such an absurd result. Plaintiffs’ interpretation

would create a substantial loophole that would allow anyone, including individuals who may be

lawfully prohibited from receiving or possessing a firearm, to purchase a disassembled weapon that

may be assembled or completed in short order, frustrating the core purposes of the GCA, including

assisting law enforcement in its goals of preventing and solving crimes involving firearms.

        Accordingly, the challenged portion of the amended definition of “firearm” reasonably

specifies that certain products that already qualify as a “firearm” under the statutory definition of that

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term are in fact “firearms.” Because this is consistent with the intent and purpose of the GCA as well

as federal case law and prior ATF practice, Plaintiffs are not entitled to prevail on the merits of their

Count I claim as to the amended definition of “firearm.”

    III.       In Any Event, This Court Should Not Grant Plaintiffs Relief Beyond What is
               Necessary to Remedy Plaintiffs’ Alleged Injuries.

           For the reasons set forth above, this Court should not consolidate an ultimate decision on the

merits of Plaintiffs’ Count I with the Court’s previous preliminary injunction decision, and should not

rule for Plaintiffs on Count I in any event. However, in the event that this Court were to do so, and

were to enter final judgment on behalf of Plaintiffs, it should carefully tailor its remedies to only those

necessary to remedy any demonstrated harms of the Plaintiffs.

           Plaintiffs request much broader relief than that which this Court has thus far granted them

under the preliminary injunction. In their Complaint, Plaintiffs seek an order “[h]olding unlawful and

setting aside the Final Rule,” and “[i]ssuing . . . permanent injunctive relief enjoining Defendants from

enforcing or implementing the Final Rule.” Compl. at Prayer for Relief ¶¶ 1, 2. This Court should

not grant such broad, sweeping relief under the present circumstances.

           As an initial matter, this Court should not “hold unlawful” or “set aside” the entire Final Rule,

or enter a permanent injunction enjoining Defendants from enforcing or implementing the entire

Final Rule, as Plaintiffs request in their Complaint. Plaintiffs’ motion for a preliminary injunction,

which this Court has stated it intends to consolidate with a final determination on the merits, only

argues that ATF exceeded the scope of its statutory authority with regard to two specific portions of

amended definitions in the Final Rule – the addition of subsection (c) to the definition of “frame or

receiver,” ECF No. 16 at 14-19, and the addition of language concerning “weapon parts kits” to the

definition of “firearm,” id. at 19-21. In its order granting Plaintiffs’ motion for preliminary injunction,

the Court only considered these two provisions in assessing whether Plaintiffs were likely to succeed

on the merits of their Count I claim. ECF No. 56 at 6-16. Therefore, because any issue of whether
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ATF exceeded its statutory authority in any of the other portions of the Final Rule has not been

presented to or considered by the Court, any relief this Court might grant with regard to the Final

Rule should be limited to these two challenged provisions. Cf. 87 Fed. Reg. at 24,730 (“[I]n the event

any provision of this rule, an amendment or revision made by this rule, or the application of such

provision or amendment or revisions to any person or circumstance is held to be invalid or

unenforceable by its terms, the remainder of this rule . . . shall not be affected and shall be construed

so as to give them the maximum effect permitted by law.”).

        Furthermore, any remedy or relief this Court provides Plaintiffs should be narrowly tailored

to the actual harms allegedly suffered by Plaintiffs as a result of the challenged portions of the Final

Rule’s amended definitions. “Remedies . . . ordinarily ‘operate with respect to specific parties.’”

California v. Texas, 141 S. Ct. 2104, 2115 (2021) (quoting Murphy v. Nat’l Collegiate Athletic Assn., 138 S.

Ct. 1461, 1486 (2018)) (Thomas, J., concurring). “In the absence of any specific party, they do not

simply operate ‘on legal rules in the abstract.’” Id. (quoting Murphy, 138 S. Ct. at 1486) (Thomas, J.,

concurring); cf. Lewis v. Casey, 518 U.S. 343, 357 (1996) (“The remedy must of course be limited to the

inadequacy that produced the injury in fact that the plaintiff has established.”); Schlesinger v. Reservists

Comm. to Stop the War, 418 U.S. 208, 222 (1974) (when “the relief sought produces a confrontation

with one of the coordinate branches of the Government,” the “framing of relief” may be “no broader

than required by” the “discrete factual context within which the concrete injury occurred or is

threatened.”); Scott v. Schedler, 826 F.3d 207, 211 (5th Cir. 2016) (relief must be “narrowly tailor[ed] . .

. to remedy the specific action which gives rise to the order as determined by the substantive law at

issue.”). In granting Plaintiffs’ motion for preliminary injunction, this Court narrowly tailored its relief

to only the Plaintiff, Tactical Machining, that the Court held had shown that it would be irreparably




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harmed by the Final Rule absent an injunction. ECF No. 56 at 22. 5 In doing so, the Court noted that

“Plaintiffs have also not shown that nationwide injunctive relief is appropriate at this stage.” Id.

Plaintiffs have made no additional showing why broader relief than they have received under the terms

of the Court’s preliminary injunction would be appropriate or necessary to remedy their alleged harms.

Under the Court’s preliminary injunction, Tactical Machining and BlackHawk Manufacturing are able

to operate their businesses and sell their respective products to anyone not prohibited from receiving

or possessing a firearm pursuant to 18 U.S.C. § 922(g), without being subject to the challenged

provisions of the Final Rule’s amended definitions, and those provisions likewise cannot be

implemented or enforced against Tactical Machining and BlackHawk Manufacturing’s customers who

are not so prohibited. In the absence of any showing that a broader remedy is needed to cure any

harm or prejudice suffered by any Plaintiff, this Court should not order permanent injunctive relief

any broader than the scope of the Court’s preliminary injunction. 6 Cf. DHS v. New York, 140 S. Ct.

599, 599-601 (2020) (“The real problem here is the increasingly common practice of trial courts

ordering relief that transcends the cases before them. Whether framed as injunctions of ‘nationwide,’

‘universal,’ or ‘cosmic’ scope, these orders share the same basic flaw – they direct how the defendant

must act toward persons who are not parties to the case.”) (Gorsuch, J., concurring in the grant of

stay); Trump v. Hawaii, 138 S. Ct. 2392, 2425-33 (2019) (nationwide injunctions “appear to be

inconsistent with longstanding limits on equitable relief and the power of Article III courts” and “are



5
  The scope of the preliminary injunction was later enlarged to cover Tactical Machining’s customers,
and BlackHawk Manufacturing, an Intervenor, and its customers, based on the Court’s conclusion
that such relief was necessary to protect those parties from irreparable harm. ECF No. 188.
6
  Defendants additionally note that 5 U.S.C. § 706(2) does not authorize the vacatur of agency rules.
Section 706 does not pertain to remedies at all, which are instead governed by 703. Section 706 is a
rule of decision directing the reviewing court to disregard unlawful “agency action, findings, and
conclusions” in resolving the case or controversy before it. However, Defendants acknowledge that
the Fifth Circuit has concluded that a district court may render an agency action “void” in an action
brought under § 706. See Texas v. Biden, 20 F.4th 928, 957 (5th Cir. 2021).
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beginning to take a toll on the federal court system – preventing legal questions from percolating

through the federal courts, encouraging forum shopping, and making every case a national emergency

for the courts and for the Executive Branch.”) (Thomas, J., concurring).

                                          CONCLUSION

       For the foregoing reasons, this Court should not consolidate the resolution of the merits of

Plaintiffs’ Count I with the Court’s previous decision granting Plaintiffs’ request for a preliminary

injunction. In any event, Plaintiffs are not entitled to judgment on Count I. To the extent the Court

were to disagree, it should narrowly tailor any relief to remedy the harms demonstrated by Plaintiffs.



DATED: December 5, 2022                                Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       On December 5, 2022, I electronically submitted the foregoing document with the clerk of

court for the U.S. District Court, Northern District of Texas, using the electronic case filing system

of the court. I hereby certify that I have served all parties electronically or by another manner

authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                              /s/ Martin M. Tomlinson
